                                Fourth Court of Appeals
                                        San Antonio, Texas
                                               August 21, 2024

                                            No. 04-24-00394-CV

     Stephanie GONZALEZ, as Successor Councilmember of Converse to Jacqueline Angulo;
    Kassandra Leon, as Successor Councilmember of Converse to Nancy Droneburg; and Stacy L.
          Adams, Sr., as Successor Councilmember of Converse to Christopher L. Clark,
                                          Appellants

                                                       v.

                                             Katherine SILVAS,
                                                  Appellee

                     From the 438th Judicial District Court, Bexar County, Texas
                                   Trial Court No. 2019CI22419
                           Honorable Marialyn Barnard, Judge Presiding 1

                                                   ORDER

      In accordance with this court’s opinion of this date, this appeal is DISMISSED FOR LACK
OF JURISDICTION. We order the costs of this appeal to be paid by the parties who incurred them.

         It is so ORDERED on August 21, 2024.


                                                        _____________________________
                                                        Irene Rios, Justice

       IN WITNESS WHEREOF, I have hereunto set my hand and affixed the seal of the said
court on this 21st day of August, 2024.

                                                        _____________________________
                                                        Luz Estrada, Chief Deputy Clerk



1
  The Honorable Rosie Alvarado is the presiding judge of the 438th Judicial District Court. The Honorable Marialyn
Barnard, presiding judge of the 73rd Judicial District Court, signed the order denying appellants’ plea to the
jurisdiction.
